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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION                                                           ENTERED
                                                                                                                  08/24/2020
                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    VALARIS PLC, et al.,1                                            )   Case No. 20-34114 (MI)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. 29

                        INTERIM ORDER (I) APPROVING
             NOTIFICATION AND HEARING PROCEDURES FOR CERTAIN
           TRANSFERS OF AND DECLARATIONS OF WORTHLESSNESS WITH
         RESPECT TO COMMON STOCK, AND (II) GRANTING RELATED RELIEF


             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an interim order (this “Interim Order”), (a) approving the

Procedures related to transfers of Beneficial Ownership of Common Stock, (b) directing that any

purchase, sale, other transfer of, or declaration of worthlessness with respect to Common Stock in

violation of the Procedures shall be null and void ab initio, and (c) scheduling a final hearing to

consider approval of the Motion on a final basis, all as more fully set forth in the Motion; and upon

the First Day Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and the Motion

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion, as modified herein, is in the best interests of the Debtors’ estates,


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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their creditors, and other parties in interest; and this Court having found that the Debtors’ notice

of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The final hearing (the “Final Hearing”) on the Motion shall be held on

September 17, 2020, at 9:30 a.m., prevailing Central Time. Any objections or responses to entry

of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time, on

September 14, 2020. In the event no objections to entry of the Final Order on the Motion are

timely received, the Court may enter such Final Order without need for the final hearing.

       2.      The Procedures, as set forth in Exhibit 1 attached hereto, are approved, provided,

however, any party in interest reserves the right to request emergency relief from the Procedures.

       3.      Any transfer of or declaration of worthlessness with respect to Beneficial

Ownership of Common Stock in violation of the Procedures, including but not limited to the notice

requirements, shall be null and void ab initio.

       4.      In the case of any such transfer of Beneficial Ownership of Common Stock in

violation of the Procedures, including but not limited to the notice requirements, the person or

entity making such transfer shall be required to take any remedial actions specified by the Debtors,

which may include the actions specified in Private Letter Ruling 201010009 (Dec. 4, 2009), to

appropriately reflect that such transfer is null and void ab initio.




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        5.      In the case of any such declaration of worthlessness with respect to Beneficial

Ownership of Common Stock in violation of the Procedures, including the notice requirements,

the person or entity making such declaration shall be required to file an amended tax return

revoking such declaration and any related deduction to appropriately reflect that such declaration

is void ab initio.

        6.      The Debtors may retroactively or prospectively waive any and all restrictions, stays,

and notification procedures set forth in the Procedures.

        7.      In addition to the Notice Procedures approved by this Interim Order, the Debtors

shall publish the Notice of Interim Order once in the national edition of The New York Times and

the Debtors shall post the Procedures to the website established by Stretto for these

chapter 11 cases (http://www.stretto.com/Valaris), such notice being reasonably calculated to

provide notice to all parties that may be affected by the Procedures, whether known or unknown.

        8.      To the extent that this Interim Order is inconsistent with any prior order or pleading

with respect to the Motion in these cases, the terms of this Interim Order shall govern.

        9.      The requirements set forth in this Interim Order are in addition to the requirements

of all applicable law and do not excuse compliance therewith.

        10.     Notwithstanding anything to the contrary in this Interim Order, including, without

limitation, the Procedures set forth herein and in the exhibits hereto, for a period of eight (8)

business days commencing immediately upon entry of this Interim Order (or such later date as

may be agreed by the Debtors), Luminus Management LLC, on behalf of itself and as investment

manager for funds which maintain Beneficial Ownership of Common Stock (collectively,

“Luminus”), shall be permitted to effectuate one or more transfers of Beneficial Ownership of

Common Stock that would result in (a) a decrease in the amount of Common Stock of which




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Luminus has Beneficial Ownership or (b) Luminus ceasing to be a Substantial Shareholder without

the need for Luminus to comply with the Procedures; provided, however, that Luminus shall not

initially decrease its Beneficial Ownership to less than 5,000,000 shares of Common Stock

(representing approximately two and one-half percent (2.5%) of all issued and outstanding shares

of Common Stock) as of the first date that Luminus would no longer be a Substantial Shareholder,

but, after such date, Luminus may further decrease its Beneficial Ownership to the extent

consistent with this Interim Order; and, provided, further, that, to the extent that, following the

expiration of such eight (8) business day trading period, or as otherwise extended, Luminus is a

Substantial Shareholder, any transfer of Beneficial Ownership of Common Stock by Luminus shall

be subject to the Procedures; and, provided, further, that to the extent applicable or necessary, the

automatic stay under section 362 of the Bankruptcy Code is hereby modified to permit a transfer

of Beneficial Ownership of Common Stock by Luminus consistent with the provisions of this

decretal paragraph 10; and, provided, further, that nothing in this decretal paragraph 10 shall

exempt an entity other than Luminus from its obligation to comply with the Procedures, including,

without, limitation, the Procedures in respect of effectuating any transfer of Beneficial Ownership

of Common Stock that would result in an increase in the amount of Common Stock of which a

Substantial Shareholder has Beneficial Ownership or would result in an entity or individual

becoming a Substantial Shareholder.

       11.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy Code

or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an




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implication or admission that any particular claim is of a type specified or defined in the Motion

or any order granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code;

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates; (g) a waiver or limitation of

the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or any other

applicable law; or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion, as

modified herein, are valid, and the rights of all parties in interest are expressly reserved to contest

the extent, validity, or perfection or seek avoidance of all such liens.

       12.     Nothing herein shall preclude any person desirous of acquiring any Common Stock

from requesting relief from this Interim Order from this Court, subject to the Debtors’ rights to

oppose such relief.

       13.     Other than to the extent that this Interim Order expressly conditions or restricts

trading in Common Stock, nothing in this Interim Order or in the Motion, as modified herein, shall,

or shall be deemed to, prejudice, impair, or otherwise alter or affect the rights of any holders of

Common Stock, including in connection with the treatment of any such stock under any chapter

11 plan or any applicable bankruptcy court order.

       14.     The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b).

       15.     Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Bankruptcy Local Rules are satisfied by such notice.




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       16.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       17.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the relief granted herein.

       18.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.

Houston, Texas
Dated: ___________,
Signed: August
        October24,   2020
                17,2020
                    2018

                                                     MARVIN  ISGUR
                                                       ____________________________________
                                                     UNITED STATES Marvin
                                                                     BANKRUPTCY
                                                                             Isgur    JUDGE
                                                           United States Bankruptcy Judge




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                                       Exhibit 1

Procedures for Transfers of and Declarations of Worthlessness with Respect to Beneficial
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PROCEDURES FOR TRANSFERS OF AND DECLARATIONS OF WORTHLESSNESS
                WITH RESPECT TO COMMON STOCK

The following procedures apply to transfers of Common Stock:1

                      a. Any entity (as defined in section 101(15) of the Bankruptcy Code) who
                         currently is or becomes a Substantial Shareholder (as defined herein) must
                         file with the Court, and serve upon: (i) the Debtors, Valaris plc, 5847 San
                         Felipe Street, Houston, Texas 77057, Attn.: Michael McGuinty;
                         (ii) proposed counsel to the Debtors, Kirkland & Ellis LLP, 300 North
                         LaSalle, Chicago, Illinois 60654, Attn.: Anup Sathy, P.C.,
                         Ross M. Kwasteniet, P.C., and Spencer A. Winters; (iii) proposed
                         co-counsel for the Debtors, Jackson Walker L.L.P., 1401 McKinney Street,
                         Suite 1900, Houston, Texas 77010, Attn: Matthew D. Cavenaugh;
                         (iv) counsel to the Bondholder Group and the DIP Lenders, Kramer Levin
                         Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New
                         York 10036, Attn: Thomas Moers Mayer, Douglas Mannal, and Nathaniel
                         Allard; (v) counsel to the administrative agent under the Revolving Credit
                         Facility, Shearman & Sterling, 599 Lexington Avenue, New York, New
                         York 10022, Attn: Fredric Sosnick and Michael Giuppone; (vi) the transfer
                         agent for the Debtors’ Common Stock, Computershare, 250 Royall Street,
                         Canton, Massachusetts 02021, and 222 N. Pacific Coast Highway, 3rd
                         Floor, El Segundo, California 90245, Attn: Bridget Huerta; (vii) counsel to
                         any statutory committee appointed in these cases; (viii) the United States
                         Trustee, 1515 Rusk Street Houston, Texas 77002; and (ix) to the extent not
                         listed herein, those parties requesting notice pursuant to Bankruptcy Rule
                         2002 (collectively, the “Notice Parties”), a declaration of such status,
                         substantially in the form of Exhibit 1A attached to these Procedures (each,
                         a “Declaration of Status as a Substantial Shareholder”), on or before the
                         later of (i) 30 calendar days after the date of the Notice of Interim Order (as
                         defined herein), or (ii) 10 calendar days after becoming a Substantial
                         Shareholder; provided that, for the avoidance of doubt, the other procedures
                         set forth herein shall apply to any Substantial Shareholder even if no
                         Declaration of Status as a Substantial Shareholder has been filed.

                 b.       Prior to effectuating any transfer of Beneficial Ownership of Common
                          Stock that would result in an increase in the amount of Common Stock of
                          which a Substantial Shareholder has Beneficial Ownership or would result
                          in an entity or individual becoming a Substantial Shareholder, the parties to
                          such transaction must file with the Court, and serve upon the Notice Parties,
                          an advance written declaration of the intended transfer of Common Stock,
                          substantially in the form of Exhibit 1B attached to these Procedures (each,
                          a “Declaration of Intent to Accumulate Common Stock”).


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                c.      Prior to effectuating any transfer of Beneficial Ownership of Common
                        Stock that would result in a decrease in the amount of Common Stock of
                        which a Substantial Shareholder has Beneficial Ownership or would result
                        in an entity or individual ceasing to be a Substantial Shareholder, the parties
                        to such transaction must file with the Court, and serve upon the Notice
                        Parties, an advance written declaration of the intended transfer of Common
                        Stock, substantially in the form of Exhibit 1C attached to these Procedures
                        (each, a “Declaration of Intent to Transfer Common Stock,” and together
                        with a Declaration of Intent to Accumulate Common Stock, each,
                        a “Declaration of Proposed Transfer”).

                d.      The Debtors shall have 30 calendar days after receipt of a Declaration of
                        Proposed Transfer to file with the Court and serve on such Substantial
                        Shareholder or potential Substantial Shareholder an objection to any
                        proposed transfer of Beneficial Ownership of Common Stock described in
                        the Declaration of Proposed Transfer on the grounds that such transfer
                        might adversely affect the Debtors’ ability to utilize their Tax Attributes. If
                        the Debtors file an objection, such transaction will remain ineffective unless
                        such objection is withdrawn by the Debtors, or such transaction is approved
                        by a final and non-appealable order of the Court. If the Debtors do not
                        object within such 30-day period, such transaction can proceed solely as set
                        forth in the Declaration of Proposed Transfer. Further transactions within
                        the scope of this paragraph must be the subject of additional notices in
                        accordance with the procedures set forth herein, with an additional 30-day
                        waiting period for each Declaration of Proposed Transfer.

               e.       For purposes of these Procedures a “Substantial Shareholder” is any entity
                        or individual person that has Beneficial Ownership of at least
                        8,974,359 shares of Common Stock (representing approximately
                        4.5 percent of all issued and outstanding shares of Common Stock).2

The following procedures apply for declarations of worthlessness of Common Stock:

                     a. Any person or entity that currently is or becomes a 50-Percent Shareholder3
                        must file with the Court and serve upon the Notice Parties a Declaration of
                        Status as a 50-Percent Shareholder, substantially in the form attached to
                        the Procedures as Exhibit 1D, on or before the later of (i) 30 calendar days
                        after the date of the Notice of Interim Order, and (ii) ten calendar days after
                        becoming a 50-Percent Shareholder; provided that, for the avoidance of
                        doubt, the other Procedures set forth herein shall apply to any 50-Percent

2
    Based on approximately 199,430,217 shares of Common Stock outstanding for purposes of Section 382 of the
    IRC as of July 24, 2020.
3
    For purposes of the Procedures, a “50-Percent Shareholder” is any person or entity that at any time since
    December 31, 2016 has had Beneficial Ownership of 50 percent or more of the Common Stock of the Debtors
    (determined in accordance with section 382(g)(4)(D) of the IRC and the applicable Treasury Regulations
    thereunder).



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                     Shareholder even if no Declaration of Status as a 50-Percent Shareholder
                     has been filed.

              a.     Prior to filing any federal or state tax return, or any amendment to such a
                     return, or taking any other action that claims any deduction for
                     worthlessness of Beneficial Ownership of Common Stock for a taxable year
                     ending before the Debtors’ emergence from chapter 11 protection, such
                     50-Percent Shareholder must file with the Court and serve upon the Notice
                     Parties a declaration of intent to claim a worthless stock deduction
                     (a “Declaration of Intent to Claim a Worthless Stock Deduction”),
                     substantially in the form attached to the Procedures as Exhibit 1E.

                            i.      The Debtors shall have 30 calendar days after receipt of a
                                    Declaration of Intent to Claim a Worthless Stock Deduction
                                    to file with the Court and serve on such 50-Percent
                                    Shareholder an objection to any proposed claim of
                                    worthlessness described in the Declaration of Intent to Claim
                                    a Worthless Stock Deduction on the grounds that such claim
                                    might adversely affect the Debtors’ ability to utilize their
                                    Tax Attributes.

                           ii.      If the Debtors timely object, the filing of the tax return or
                                    amendment thereto with such claim will not be permitted
                                    unless approved by a final and non-appealable order of the
                                    Court, unless the Debtors withdraw such objection.

                          iii.      If the Debtors do not object within such 30-day period, the
                                    filing of the return or amendment with such claim will be
                                    permitted solely as described in the Declaration of Intent to
                                    Claim a Worthless Stock Deduction. Additional returns and
                                    amendments within the scope of this section must be the
                                    subject of additional notices as set forth herein, with an
                                    additional 30-day waiting period. To the extent that the
                                    Debtors receive an appropriate Declaration of Intent to
                                    Claim a Worthless Stock Deduction and determine in their
                                    business judgment not to object, they shall provide notice of
                                    that decision as soon as is reasonably practicable to any
                                    statutory committee(s) appointed in these chapter 11 cases.

The following notice procedures apply to these Procedures:

              b.     No later than two business days following entry of the Interim Order, the
                     Debtors shall serve a notice by first class mail, substantially in the form of
                     Exhibit 1F attached to these Procedures (the “Notice of Interim Order”),
                     on: (i) the Office of the United States Trustee for the Southern District of
                     Texas; (ii) the entities listed as holding the 30 largest unsecured claims
                     against the Debtors (on a consolidated basis); (iii) the agent for the Debtors’



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            revolving credit facility, and counsel thereto; (iv) the indenture trustees for
            each of the Debtors’ unsecured notes, and their respective counsel thereto;
            (v) the Internal Revenue Service; (vi) the U.S. Securities and Exchange
            Commission; (vii) any official committees appointed in these chapter 11
            cases; (viii) counsel to the Bondholder Group and the DIP Lenders; and (ix)
            all registered and nominee holders of Common Stock (with instructions to
            serve down to the beneficial holders of Common Stock, as applicable).
            Additionally, no later than two business days following entry of the Final
            Order, the Debtors shall serve a Notice of Interim Order modified to reflect
            that the Final Order has been entered (as modified, the “Notice of Final
            Order”) on the same entities and individuals that received the Notice of
            Interim Order.

      c.    All registered and nominee holders of Common Stock shall be required to
            serve the Notice of Interim Order or Notice of Final Order, as applicable,
            on any holder for whose benefit such registered or nominee holder holds
            such Common Stock down the chain of ownership for all such holders of
            Common Stock.

      d.    Any entity or individual, or broker or agent acting on such entity’s or
            individual’s behalf, who sells Common Stock to another entity or individual
            shall be required to serve a copy of the Notice of Interim Order or Notice of
            Final Order, as applicable, on such purchaser of such Common Stock, or
            any broker or agent acting on such purchaser’s behalf.

      e.    As soon as is practicable following entry of the Interim Order, the Debtors
            shall (i) post a copy of the Notice of Interim Order on the Claims Agent
            website at http://www.stretto.com/valaris and (ii) file a Form 8-K with a
            reference to the entry of the Interim Order.

      f.    To the extent confidential information is required in any declaration
            described in these Procedures, such confidential information may be filed
            and served in redacted form; provided that any such declarations served on
            the Debtors shall not be in redacted form. The Debtors shall keep all
            information provided in such declarations strictly confidential and shall not
            disclose the contents thereof to any person except (i) to the extent necessary
            to respond to a petition or objection filed with the Court; (ii) to the extent
            otherwise required by law; or (iii) to the extent that the information
            contained therein is already public; provided that the Debtors may disclose
            the contents thereof to their professional advisors, who shall keep all such
            notices strictly confidential and shall not disclose the contents thereof to any
            other person, subject to further Court order. To the extent confidential
            information is necessary to respond to a petitioner objection filed with the
            Court, such confidential information shall be filed under seal or in a
            redacted form.




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                              Exhibit 1A
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                          )
    In re:                                                                )   Chapter 11
                                                                          )
    VALARIS PLC, et al.,1                                                 )   Case No. 20-34114 (MI)
                                                                          )
                               Debtors.                                   )   (Jointly Administered)
                                                                          )
                                                                          )   Re: Docket No. __

               DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER2


             PLEASE TAKE NOTICE that the undersigned party is/has become a Substantial

Shareholder with respect to the common stock of Valaris plc or of any Beneficial Ownership

therein (the “Common Stock”).                    Valaris plc is a debtor and debtor in possession in

Case No. 20-34114 (MI) pending in the United States Bankruptcy Court for the Southern District

of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 8,974,359 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); (ii) “Beneficial Ownership” will be determined in accordance with
      the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations
      section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding
      company would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in
      a partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
      section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject
      to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise
      not currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, as of __________ __, 2020, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock. The following

table sets forth the date(s) on which the undersigned party acquired Beneficial Ownership of such

Common Stock:

                    Number of Shares                                      Date Acquired




                             (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Debtors; Kirkland & Ellis LLP, proposed counsel to the Debtors; and any other parties entitled

to notice under the Order.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this




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Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                     Respectfully submitted,

                                                     (Name of Substantial Shareholder)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

       (City)         (State)




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Case
Case 20-34114
     20-34114 Document
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                                 onTXSB  on 08/24/20
                                    08/23/20 in TXSB Page
                                                     Page 16
                                                          16 of
                                                             of 37
                                                                37



                              Exhibit 1B

           Declaration of Intent to Accumulate Common Stock
             Case
             Case 20-34114
                  20-34114 Document
                           Document 110
                                    107 Filed
                                        Filed in
                                              onTXSB  on 08/24/20
                                                 08/23/20 in TXSB Page
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                                                                       17 of
                                                                          of 37
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                          )
    In re:                                                                )   Chapter 11
                                                                          )
    VALARIS PLC, et al.,1                                                 )   Case No. 20-34114 (MI)
                                                                          )
                               Debtors.                                   )   (Jointly Administered)
                                                                          )
                                                                          )   Re: Docket No. __

               DECLARATION OF INTENT TO ACCUMULATE COMMON STOCK2


             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to purchase, acquire, or otherwise accumulate (the “Proposed Transfer”) one or more

shares of common stock of Valaris plc or of any Beneficial Ownership therein (the “Common

Stock”). Valaris plc is a debtor and debtor in possession in Case No. 20-34114 (MI) pending in

the United States Bankruptcy Court for the Southern District of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 8,974,359 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); (ii) “Beneficial Ownership” will be determined in accordance with
      the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations
      section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding
      company would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in
      a partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
      section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject
      to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise
      not currently exercisable.
      Case
      Case 20-34114
           20-34114 Document
                    Document 110
                             107 Filed
                                 Filed in
                                       onTXSB  on 08/24/20
                                          08/23/20 in TXSB Page
                                                           Page 18
                                                                18 of
                                                                   of 37
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       PLEASE TAKE FURTHER NOTICE that, if applicable, on ___________ __, 2020, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to purchase, acquire, or otherwise accumulate Beneficial Ownership

of _________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ___________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Debtors; Kirkland & Ellis LLP, proposed counsel to the Debtors; and any other parties entitled

to notice under the Order.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that it is prohibited from consummating the Proposed Transfer unless and until the

undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors have 30 calendar days after

receipt of this Declaration to object to the Proposed Transfer described herein. If the Debtors file




                                                 2
      Case
      Case 20-34114
           20-34114 Document
                    Document 110
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                                                                19 of
                                                                   of 37
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an objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn

by the Debtors or such transaction is approved by a final and non-appealable order of the Court.

If the Debtors do not object within such 30-day period, then after expiration of such period the

Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party purchasing, acquiring, or otherwise

accumulating Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                     Respectfully submitted,

                                                     (Name of Declarant)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

       (City)         (State)




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Case
Case 20-34114
     20-34114 Document
              Document 110
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                                 onTXSB  on 08/24/20
                                    08/23/20 in TXSB Page
                                                     Page 20
                                                          20 of
                                                             of 37
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                             Exhibit 1C

            Declaration of Intent to Transfer Common Stock
             Case
             Case 20-34114
                  20-34114 Document
                           Document 110
                                    107 Filed
                                        Filed in
                                              onTXSB  on 08/24/20
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                                                                       21 of
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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                          )
    In re:                                                                )   Chapter 11
                                                                          )
    VALARIS PLC, et al.,1                                                 )   Case No. 20-34114 (MI)
                                                                          )
                               Debtors.                                   )   (Jointly Administered)
                                                                          )
                                                                          )   Re: Docket No. __

                DECLARATION OF INTENT TO TRANSFER COMMON STOCK2


             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to sell, trade, or otherwise transfer (the “Proposed Transfer”) one or more shares of

common stock of Valaris plc or of any Beneficial Ownership therein (the “Common Stock”).

Valaris plc is a debtor and debtor in possession in Case No. 20-34114 (MI) pending in the United

States Bankruptcy Court for the Southern District of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least 8,974,359 shares of Common Stock (representing approximately 4.5 percent of all issued
      and outstanding shares of Common Stock); (ii) “Beneficial Ownership” will be determined in accordance with
      the applicable rules of sections 382 and 383 of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as
      amended (the “IRC”), and the Treasury Regulations thereunder (other than Treasury Regulations
      section 1.382-2T(h)(2)(i)(A)), and includes direct, indirect, and constructive ownership (e.g., (1) a holding
      company would be considered to beneficially own all equity securities owned by its subsidiaries, (2) a partner in
      a partnership would be considered to beneficially own its proportionate share of any equity securities owned by
      such partnership, (3) an individual and such individual’s family members may be treated as one individual,
      (4) persons and entities acting in concert to make a coordinated acquisition of equity securities may be treated as
      a single entity, and (5) a holder would be considered to beneficially own equity securities that such holder has an
      Option to acquire). An “Option” to acquire stock includes all interests described in Treasury Regulations
      section 1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject
      to risk of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise
      not currently exercisable.
      Case
      Case 20-34114
           20-34114 Document
                    Document 110
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                                       onTXSB  on 08/24/20
                                          08/23/20 in TXSB Page
                                                           Page 22
                                                                22 of
                                                                   of 37
                                                                      37



       PLEASE TAKE FURTHER NOTICE that, if applicable, on __________ __, 2020, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

       PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to sell, trade, or otherwise transfer Beneficial Ownership of

_________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have Beneficial

Ownership of _________ shares of Common Stock after such transfer becomes effective.

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Debtors; Kirkland & Ellis LLP, proposed counsel to the Debtors; and any other parties entitled

to notice under the Order.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that it is prohibited from consummating the Proposed Transfer unless and until the

undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors have 30 calendar days after

receipt of this Declaration to object to the Proposed Transfer described herein. If the Debtors file




                                                 2
      Case
      Case 20-34114
           20-34114 Document
                    Document 110
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                                          08/23/20 in TXSB Page
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                                                                23 of
                                                                   of 37
                                                                      37



an objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn

by the Debtors or such transaction is approved by a final and non-appealable order of the Court.

If the Debtors do not object within such 30-day period, then after expiration of such period the

Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party selling, trading, or otherwise

transferring Beneficial Ownership of additional shares of Common Stock will each require an

additional notice filed with the Court to be served in the same manner as this Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                     Respectfully submitted,

                                                     (Name of Declarant)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

       (City)         (State)




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Case
Case 20-34114
     20-34114 Document
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                                                          24 of
                                                             of 37
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                               Exhibit 1D

            Declaration of Status as a 50-Percent Shareholder
             Case
             Case 20-34114
                  20-34114 Document
                           Document 110
                                    107 Filed
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                                              onTXSB  on 08/24/20
                                                 08/23/20 in TXSB Page
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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              )   Chapter 11
                                                                        )
    VALARIS PLC, et al.,1                                               )   Case No. 20-34114 (MI)
                                                                        )
                               Debtors.                                 )   (Jointly Administered)
                                                                        )
                                                                        )   Re: Docket No. __

                DECLARATION OF STATUS AS A 50-PERCENT SHAREHOLDER2


             PLEASE TAKE NOTICE that the undersigned party is/has become a 50-Percent

Shareholder with respect to the common stock of Valaris plc or of any Beneficial Ownership

therein (the “Common Stock”).                    Valaris plc is a debtor and debtor in possession in

Case No. 20 34114 (MI) pending in the United States Bankruptcy Court for the Southern District

of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
2
      For purposes of this Declaration: (i) a “50-Percent Shareholder” is any person or entity that at any time since
      December 31, 2016, has had 50 percent or more of the Common Stock (determined in accordance with
      IRC § 382(g)(4)(D) and the applicable Treasury Regulations); (ii) “Beneficial Ownership” will be determined in
      accordance with the applicable rules of sections 382 and 383 of the Internal Revenue Code (the “IRC”), and the
      Treasury Regulations thereunder (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)) and includes
      direct, indirect, and constructive ownership (e.g., (1) a holding company would be considered to beneficially own
      all equity securities owned by its subsidiaries, (2) a partner in a partnership would be considered to beneficially
      own its proportionate share of any equity securities owned by such partnership, (3) an individual and such
      individual’s family members may be treated as one individual, (4) persons and entities acting in concert to make
      a coordinated acquisition of equity securities may be treated as a single entity, and (5) a holder would be
      considered to beneficially own equity securities that such holder has an Option (as defined herein) to acquire);
      and (iii) an “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
      Case
      Case 20-34114
           20-34114 Document
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                                                                26 of
                                                                   of 37
                                                                      37



       PLEASE TAKE FURTHER NOTICE that, as of _________ __, 2020, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock. The following

table sets forth the date(s) on which the undersigned party acquired Beneficial Ownership of such

Common Stock:

              Number of Shares                                    Date Acquired




                              (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Debtors; Kirkland & Ellis LLP, proposed counsel to the Debtors; and any other parties entitled

to notice under the Order.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.


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     Case
     Case 20-34114
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                                                               27 of
                                                                  of 37
                                                                     37



                                         Respectfully submitted,

                                         (Name of 50-Percent Shareholder)

                                         By:
                                         ________________________________
                                         Name: _____________________________
                                         Address: ___________________________
                                         ___________________________________
                                         Telephone: _________________________
                                         Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

      (City)       (State)




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Case
Case 20-34114
     20-34114 Document
              Document 110
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                                 onTXSB  on 08/24/20
                                    08/23/20 in TXSB Page
                                                     Page 28
                                                          28 of
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                               Exhibit 1E

        Declaration of Intent to Claim a Worthless Stock Deduction
             Case
             Case 20-34114
                  20-34114 Document
                           Document 110
                                    107 Filed
                                        Filed in
                                              onTXSB  on 08/24/20
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                                                                       29 of
                                                                          of 37
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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              )   Chapter 11
                                                                        )
    VALARIS PLC, et al.,1                                               )   Case No. 20-34114 (MI)
                                                                        )
                               Debtors.                                 )   (Jointly Administered)
                                                                        )
                                                                        )   Re: Docket No. __

      DECLARATION OF INTENT TO CLAIM A WORTHLESS STOCK DEDUCTION2


             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to claim a worthless stock deduction (the “Proposed Worthlessness Claim”) with respect

to one or more shares of common stock of Valaris plc or of any Beneficial Ownership therein (the

“Common Stock”). Valaris plc is a debtor and debtor in possession in Case No. 20-34114 (MI)

pending in the United States Bankruptcy Court for the Southern District of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
2
      For purposes of this Declaration: (i) a “50-Percent Shareholder” is any person or entity that at any time since
      December 31, 2016, has had 50 percent or more of the Common Stock (determined in accordance with
      IRC § 382(g)(4)(D) and the applicable Treasury Regulations); (ii) “Beneficial Ownership” will be determined in
      accordance with the applicable rules of sections 382 and 383 of the Internal Revenue Code (the “IRC”), and the
      Treasury Regulations thereunder (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)) and includes
      direct, indirect, and constructive ownership (e.g., (1) a holding company would be considered to beneficially own
      all equity securities owned by its subsidiaries, (2) a partner in a partnership would be considered to beneficially
      own its proportionate share of any equity securities owned by such partnership, (3) an individual and such
      individual’s family members may be treated as one individual, (4) persons and entities acting in concert to make
      a coordinated acquisition of equity securities may be treated as a single entity, and (5) a holder would be
      considered to beneficially own equity securities that such holder has an Option (as defined herein) to acquire);
      and (iii) an “Option” to acquire stock includes all interests described in Treasury Regulations section
      1.382-4(d)(9), including any contingent purchase right, warrant, convertible debt, put, call, stock subject to risk
      of forfeiture, contract to acquire stock, or similar interest, regardless of whether it is contingent or otherwise not
      currently exercisable.
       Case
       Case 20-34114
            20-34114 Document
                     Document 110
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                                        onTXSB  on 08/24/20
                                           08/23/20 in TXSB Page
                                                            Page 30
                                                                 30 of
                                                                    of 37
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        PLEASE TAKE FURTHER NOTICE that on _________ __, 2020, the undersigned

party filed a Declaration of Status as a 50-Percent Shareholder with the Court and served copies

thereof as set forth therein.

        PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Worthlessness

Claim, the undersigned party proposes to declare that ________ shares of Common Stock became

worthless during the tax year ending __________.

        PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

        PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Interim Order

(I) Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and (II) Granting Related Relief [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Debtors; Kirkland & Ellis LLP, proposed counsel to the Debtors; and any other parties entitled

to notice under the Order.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that the Debtors have 30 calendar days after receipt of this Declaration to object to

the Proposed Worthlessness Claim described herein. If the Debtors file an objection, such

Proposed Worthlessness Claim will not be effective unless such objection is withdrawn by the

Debtors or such action is approved by a final and non-appealable order of the Bankruptcy Court.

If the Debtors do not object within such 30-day period, then after expiration of such period the

Proposed Worthlessness Claim may proceed solely as set forth in this Declaration.




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      Case
      Case 20-34114
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          PLEASE TAKE FURTHER NOTICE that any further claims of worthlessness

contemplated by the undersigned party will each require an additional notice filed with the Court

to be served in the same manner as this Declaration and are subject to an additional 30-day waiting

period.

          PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.


                                                     Respectfully submitted,

                                                     (Name of Declarant)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

          (City)      (State)




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Case
Case 20-34114
     20-34114 Document
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                                 onTXSB  on 08/24/20
                                    08/23/20 in TXSB Page
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                                                             of 37
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                            Exhibit 1F

                      Notice of Interim Order
             Case
             Case 20-34114
                  20-34114 Document
                           Document 110
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                                                                       33 of
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    VALARIS PLC, et al.,1                                            )   Case No. 20-34114 (MI)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket No. __

                  NOTICE OF DISCLOSURE PROCEDURES
              APPLICABLE TO CERTAIN HOLDERS OF COMMON
           STOCK, DISCLOSURE PROCEDURES FOR TRANSFERS OF
         AND DECLARATIONS OF WORTHLESSNESS WITH RESPECT TO
      COMMON STOCK, AND FINAL HEARING ON THE APPLICATION THEREOF


TO: ALL ENTITIES (AS DEFINED BY SECTION 101(15) OF THE BANKRUPTCY
CODE) THAT MAY HOLD BENEFICIAL OWNERSHIP OF COMMON STOCK OF
WHITING PETROLEUM CORPORATION (THE “COMMON STOCK”):

             PLEASE TAKE NOTICE that on August 19, 2020 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), filed petitions

with the United States Bankruptcy Court for the Southern District of Texas (the “Court”) under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Subject to certain

exceptions, section 362 of the Bankruptcy Code operates as a stay of any act to obtain possession

of property of or from the Debtors’ estates or to exercise control over property of or from the

Debtors’ estates.

             PLEASE TAKE FURTHER NOTICE that on the Petition Date, the Debtors filed the

Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Approving Notification and


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.stretto.com/Valaris. The location of Debtor Ensco
      Incorporated’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5847 San
      Felipe Street, Suite 3300, Houston, Texas 77057.
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Hearing Procedures for Certain Transfers of and Declarations of Worthlessness with Respect to

Common Stock and (II) Granting Related Relief [Docket No. __] (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that on [______], 2020, the Court entered the

Interim Order (I) Approving Notification and Hearing Procedures for Certain Transfers of and

Declarations of Worthlessness with Respect to Common Stock and (II) Granting Related Relief

[Docket No. __] (the “Order”) approving procedures for certain transfers of and declarations of

worthlessness with respect to Common Stock, set forth in Exhibit 1 attached to the Order

(the “Procedures”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, a Substantial

Shareholder or person that may become a Substantial Shareholder may not consummate any

purchase, sale, or other transfer of Common Stock or Beneficial Ownership of Common Stock in

violation of the Procedures, and any such transaction in violation of the Procedures shall be null

and void ab initio.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the Procedures shall

apply to the holding and transfers of Common Stock or any Beneficial Ownership therein by a

Substantial Shareholder or someone who may become a Substantial Shareholder.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Order, a 50-Percent

Shareholder may not claim a worthless stock deduction with respect to Common Stock, or

Beneficial Ownership of Common Stock, in violation of the Procedures, and any such deduction

in violation of the Procedures shall be null and void ab initio, and the 50-Percent Shareholder shall

be required to file an amended tax return revoking such proposed deduction.




2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Order or the
    Motion, as applicable.



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        PLEASE TAKE FURTHER NOTICE that upon the request of any entity, the proposed

notice, claims, and solicitation agent for the Debtors, Stretto, will provide a copy of the Order and

a form of each of the declarations required to be filed by the Procedures in a reasonable period of

time.    Such declarations are also available via PACER on the Court’s website at

https://ecf.txsb.uscourts.gov for a fee, or free of charge by accessing the Debtors’ restructuring

website at http://www.stretto.com/valaris.

        PLEASE TAKE FURTHER NOTICE that the final hearing (the “Final Hearing”) on the

Motion shall be held on _________, 2020, at__:__ _.m., prevailing Central Time. Any objections

or responses to entry of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing

Central Time, on _________, 2020, and shall be served on the Notice Parties. In the event no

objections to entry of a final order on the Motion are timely received, this Court may enter such

final order without need for the Final Hearing.

        PLEASE TAKE FURTHER NOTICE that failure to follow the Procedures set forth in

the Order shall constitute a violation of, among other things, the automatic stay provisions of

Section 362 of the Bankruptcy Code.

        PLEASE TAKE FURTHER NOTICE that any prohibited purchase, sale, other transfer

of, or declaration of worthlessness with respect to Common Stock, Beneficial Ownership thereof,

or Option with respect thereto in violation of the Order is prohibited and shall be null and void

ab initio and may be subject to additional sanctions as this Court may determine.

        PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Order are in

addition to the requirements of applicable law and do not excuse compliance therewith.




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Houston, Texas
[●], 2020

/s/
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                                                            spencer.winters@kirkland.com




Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
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